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10
                                 IN THE UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA
                                         OAKLAND DIVISION
12
      N.Y., through his guardians David         )   Case №.: 4:17-cv-03906-MMC
13    and Leilanie Yu,                          )
                                                )   CORRECTED1 42 U.S.C. § 1983
14                  Plaintiff,                  )   COMPLAINT FOR DECLARATORY
                                                )   RELIEF, INJUNCTIVE RELIEF, AND
15            vs.                               )   DAMAGES
                                                )
16    SAN RAMON VALLEY UNIFIED                  )
      SCHOOL DISTRICT; SAN RAMON                )   DEMAND FOR JURY TRIAL
17    VALLEY HIGH SCHOOL; RICK                  )
      SCHMITT in his personal and official      )
18    capacities as Superintendent of           )
      the San Ramon Valley Unified              )
19    School District; DR. JASON                )
      REIMANN, in his personal and              )
20    official capacities as Director of        )
      Education Services of the San             )
21    Ramon Valley Unified School               )
      District; RUTH STEELE, in her personal    )
22    and official capacities as Principal      )
      of San Ramon Valley High School;          )
23    JAMIE KEITH in her personal and           )
      official capacities as Assistant          )
24    Principal of San Ramon Valley High        )
      School; . . .                             )
25
26
        1   Plaintiff’s first name was inadvertently included in ¶ 54 of the Complaint
     filed on July 11, 2017 (Dkt. No. 1). Plaintiff files this “corrected” Complaint with his
     name replaced in this paragraph as “N.Y.”

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      DEARBORN RAMOS in her personal            )
1     and official capacities as Assistant      )
      Principal of San Ramon Valley High        )
2     School; BERNIE PHELAN in his              )
      personal and official capacities as       )
3     Assistant Principal of San Ramon          )
      Valley High School; JANET                 )
4     WILLFORD, in her personal and             )
      official capacities as Leadership         )
5     Instructor of San Ramon Valley High       )
      School; and KERRI CHRISTMAN               )
6     GILBERT in her personal and official      )
      capacities as Resident Substitute         )
7     Teacher of San Ramon Valley High          )
      School.                                   )
8                                               )
                   Defendants.                  )
9                                               )
10                                       INTRODUCTION
11           1.    By all accounts N.Y.2 is an outstanding student.            He has been
12   involved in student government since elementary school and recently served as
13   president of the junior class at San Ramon Valley High School.
14           2.    In February 2017, N.Y. ran for the student government position that
15   would be the crowning achievement of his high school career – Associated
16   Student Body (ASB) President. His term would coincide with his senior year.
17           3.    In connection with his candidacy, N.Y. and four fellow students from
18   SRVHS created a campaign video.            The video was a parody in which N.Y.
19   portrayed a James Bond type character who saves a fellow student captured
20   by kidnappers.
21           4.    Although the First Amendment affords political speech the highest
22   level of speech protection and the video did not cause a material and
23   substantial disruption to school activities, school administrators punished N.Y.
24   because a few students claimed to be offended by the video.
25
26
        2     Pursuant to Fed. R. Civ. P. 5.2(a)(3) Plaintiff identifies the minor Plaintiff by
     initials only.

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1             5.      Defendants punished N.Y. despite the fact that by their own
2    admission the video did not contain “hate speech.”
3             6.      Also by their own admission, the guideline setting forth what
4    constitutes permissible content for campaign videos is so vague that it allows
5    school administrators unbridled discretion.
6             7.      N.Y. did not post the video himself and therefore did not have the
7    ability to remove the video from YouTube. However, immediately after a fellow
8    student told him that a few other students found the video offensive, he asked
9    the student who posted the video to remove it.
10            8.      The School’s punishment was severe. The school stripped him of the
11   Junior Class President position and denied him the position as Associated Student
12   Body (ASB) President despite the fact that he received the highest number of
13   votes.        The school also expelled him from his student Leadership class.
14   He remained expelled from that class for most of the Spring 2017 Semester.
15            9.      The school based its punishment on an unacceptably vague
16   election rule prohibiting “inappropriate material.”
17            10.     Not only was the rule vague on its face, but the School applied the
18   rule to N.Y. in a discriminatory manner.
19            11.     N.Y. brings this action to vindicate his rights.
20                                    JURISDICTION AND VENUE
21            12.     This Court has jurisdiction over this action pursuant to 28 U.S.C.
22   §§ 1331 & 1343(4) in that the controversy arises under the United States
23   Constitution and under 42 U.S.C. § 1983 and 28 U.S.C. §§ 2201 & 2202. This Court
24   has authority to award attorneys’ fees pursuant to 42 U.S.C. § 1988. Each of the
25   acts, or threats of acts, alleged herein were done by Defendants, or their officers,
26   agents, and employees, under color and pretense of the statutes, ordinances,



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1    regulations, customs, and usages of San Ramon Valley High School (SRVHS) and
2    the San Ramon Valley Unified School District (SRVUSD).
3          13.    Personal jurisdiction is proper over Defendants because they reside
4    in this District and because the wrongful activity at issue occurred in this District.
5          14.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391.
6                                INTRADISTRICT ASSIGNMENT
7          15.    This action arose in Contra Costa County in that the San Ramon
8    Valley Unified School District and San Ramon Valley High School are located in
9    Contra Costa County and a substantial part of the events or omissions which give
10   rise to Plaintiff’s claims occurred in Contra Costa County. Accordingly, pursuant
11   to Local Rules of Court 3-2(c) and (d), the Clerk shall assign the action to the
12   Oakland division.
13                                        THE PARTIES
14         16.    Plaintiff N.Y., who brings this action by and through his guardians
15   Leilanie Yu and David Yu, is a minor who just completed his junior year at
16   San Ramon Valley High School. He is a natural person and a citizen of the United
17   States and the State of California, residing in Contra Costa County.
18         17.    Plaintiff is informed and believes and based thereon alleges that
19   SAN RAMON VALLEY UNIFIED SCHOOL DISTRICT (“SRVUSD”) is a public entity in the
20   State of California duly organized under the laws of the State of California, and
21   more specifically the provisions of the California Education Code, to provide,
22   among other things, education to minors in public schools within the District.
23   SRVUSD has at all times mentioned herein has had its principal place of business
24   in Contra Costa County, California.         Defendant SRVUSD is responsible for
25   enacting and enforcing its customs, policies, practices, and laws related to the
26   suspension and student discipline complained about below.



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1          18.    Plaintiff is informed and believes and based thereon alleges that
2    SAN RAMON VALLEY HIGH SCHOOL (“SRVHS”) is a comprehensive public high
3    school located in Contra Costa County, California. It is part of the San Ramon
4    Valley Unified School District. Defendant SRVHS is responsible for enacting and
5    enforcing its customs, policies, practices, and laws related to the suspension and
6    other discipline complained about below.
7          19.    Plaintiff is informed and believes and based thereon alleges that
8    Defendant RICK SCHMITT is a natural person and a citizen of the United States
9    and the State of California. Plaintiff sues Mr. Schmitt in both his personal capacity
10   and in his official capacity as Superintendent of the San Ramon Valley Unified
11   School District.
12         20.    Plaintiff is informed and believes and based thereon alleges that
13   Defendant DR. JASON REIMANN is a natural person and a citizen of the United
14   States and the State of California. Plaintiff sues Dr. Reimann in both his personal
15   capacity and in his official capacity as Director of Education Services of the
16   San Ramon Valley Unified School District.
17         21.    Plaintiff is informed and believes and based thereon alleges that
18   Defendant RUTH STEELE is a natural person and a citizen of the United States and
19   the State of California. Plaintiff sues Ms. Steele in both her personal capacity and
20   in her official capacity as Principal of San Ramon Valley High School.
21         22.    Plaintiff is informed and believes and based thereon alleges that
22   Defendant JAMIE KEITH is a natural person and a citizen of the United States and
23   the State of California. Plaintiff sues Ms. Keith in both her personal capacity and
24   in her official capacity as Assistant Principal of San Ramon Valley High School.
25         23.    Plaintiff is informed and believes and based thereon alleges that
26   Defendant DEARBORN RAMOS is a natural person and a citizen of the United
     States and the State of California. Plaintiff sues Ms. Ramos in both her personal

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1    capacity and in her official capacity as Assistant Principal of San Ramon Valley
2    High School.
3            24.    Plaintiff is informed and believes and based thereon alleges that
4    Defendant BERNIE PHELAN is a natural person and a citizen of the United States
5    and the State of California. Plaintiff sues Mr. Phelan in both his personal capacity
6    and in his official capacity as Assistant Principal of San Ramon Valley High School.
7            25.    Plaintiff is informed and believes and based thereon alleges that
8    Defendant JANET WILLFORD is a natural person and a citizen of the United States
9    and the State of California.       Plaintiff sues Ms. Willford in both her personal
10   capacity and in her official capacity as Leadership Instructor of San Ramon
11   Valley High School.
12           26.    Plaintiff is informed and believes and based thereon alleges that
13   Defendant KERRI CHRISTMAN GILBERT is a natural person and a citizen of the
14   United States and the State of California. Plaintiff sues Ms. Gilbert in both her
15   personal capacity and in her official capacity as Resident Substitute Teacher at
16   San Ramon Valley High School.
17                                    PRIOR PROCEEDINGS
18           27.    On April 7, 2017, Plaintiff filed an ex parte petition for writ of
19   mandamus in the Superior Court of California for Contra Costa County, that case
20   being numbered MSN17-0585. The court set a briefing schedule and hearing
21   date.
22           28.    Prior to the April 26, 2017 hearing, the court issued a tentative ruling
23   stating that N.Y. had not “met the requirements for writ relief” and that “the Court
24   cannot grant the petition as presented.”          “However,” the Court continued,
25   “it appears the District made its decisions without fully considering whether or not
26   Petitioner’s First Amendment constitutional rights had been violated. Thus, an
     issue to be resolved is whether the video constituted protected speech and

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1    whether or not Respondent’s disciplinary action violated Petitioner’s 1st
2    Amendment constitutional rights.” No hearing was conducted and the Court
3    denied the Petition.
4          29.       Plaintiff is in the process of exhausting administrative remedies on his
5    state tort claims and will seek to amend this Complaint to include any claims that
6    he is unable to resolve at the administrative level. However, Plaintiff finds it
7    necessary to file on his constitutional claims at this time in order that he may seek
8    to serve early discovery on third parties to prevent the spoliation of important
9    evidence.
10                               FACTS COMMON TO ALL CLAIMS
11         30.       Plaintiff N.Y., is a resident of Contra Costa County, California.
12   He currently attends San Ramon Valley High School. Prior to this semester, N.Y.
13   carried a 3.82 grade point average. He has never been disciplined by the school
14   for any reason. Specifically, he has never bullied any other student, nor has he
15   been accused of bullying any other student. To the contrary, he received the
16   Safe School Ambassadors Appreciation Award for three consecutive years when
17   he was at Charlotte Wood Middle School (“CWMS”) and was a member of the
18   anti-bullying intervention club from 2012 to 2015, an honor bestowed with the
19   recommendation of a teacher.
20         31.       In addition, N.Y. is active in many leadership, charitable, and other
21   extra-curricular activities including:
22               •   Black belt in Tae Kwon Do (assisted in teaching class to less
                     advanced students)
23               •   Elected as 4th Grade Student Council Representative
24               •   Elected as 5th Grade Student Council Representative
                 •   Member of CJSF (California Junior Scholarship Federation) at
25                   Charlotte Wood Middle School (“CWMS”)
                 •   “Strong Work Ethic” Student of the Month – 6th Grade at CWMS
26               •   4.0 Honor Roll of Excellence Award – 6th Grade at CWMS
                 •   Top 10% “Science” Achievement Award – 6th Grade at CWMS


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         •   Top 10% “Core” Achievement Award - 6th Grade at CWMS
1
         •   “Safe School Ambassadors” Appreciation Award - 6th Grade at
2            CWMS
         •   “Successful Student” Student of the Month – 7th Grade at CWMS
3        •   4.0 Honor Roll of Excellence Award – 7th Grade at CWMS
4        •   Top 10% “Core” Achievement Award – 7th Grade at CWMS
         •   Top 10% “Physical Education” Achievement Award – 7th Grade at
5            CWMS
         •   “Safe School Ambassadors” Appreciation Award - 7th Grade at
6            CWMS
7        •   “Good Citizenship” Student of the Month – 8th Grade at CWMS
         •   Top 10% “English” Achievement Award – 8th Grade at CWMS
8        •   Top 10% “Physical Education” Achievement Award – 8th Grade at
             CWMS
9
         •   Top 10% “Science” Achievement Award – 8th Grade at CWMS
10       •   “Charlotte Wood Student of the Year All Around Excellence” Award,
             8th Grade at CWMS
11       •   “4.0 GPA for 3 years” Award, 8th Grade at CWMS
         •   “CAPER (Cooperation Achievement Progress Effort Responsibility)”
12
             Award (awarded only to students with Top 10% achievements
13       •   “Student Ambassador for 3 years” Award, 8th Grade at CWMS (6th,
             7th, and 8th grade)
14       •   Anti-bullying intervention club (must be recommended by teachers
15           to be selected)
         •   Recommended for Accelerated Biology for 9th Grade (required
16           Letter of Recommendation from Science Teacher) - 8th Grade at
             CWMS
17       •   Recommended             for      Advanced         Geometry      (required
18           recommendation from Math Teacher) - 8th Grade at CWMS
         •   CWMS Leadership Student (7th and 8th grade)
19       •   Ran for President for 8th grade
         •   Chaired and Led the Wheelchair Foundation Fundraising Project
20
         •   Received a Letter of Recommendation for medical school from Ken
21           Behring, Philanthropist and Founder of Wheelchair Foundation
         •   Raised over $3200 to send 21 wheelchairs to Honduras and Costa
22           Rica
23       •   Attended WE day Charity event/Convention promoting
             Humanitarian Efforts
24       •   Participated in the Capes 4 Heroes fundraiser / “build capes for kids
             with disabilities, kids with life threatening illnesses and kids who just
25           need to feel empowered.”
26       •   Head of End of the Year BBQ Dance and other school dances
         •   Head of the Veteran’s Assembly in honor of Marine Corporal Chachi
             Corral

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                 •   Delivered presents to students of Cambridge Elementary School
1
                     (Concord) for Christmas
2                •   Danville Little League Umpire (Since 7th Grade)
                 •   5th Year Senior Umpire for Danville Little League
3                •   Asked to Umpire Championship Games for Danville Little League
4                •   Umpired Majors upper division 13u
                 •   Umpired Chachi Corral Tournament
5                •   Umpired Joey Moore Tournament
                 •   Umpired Brett Slinger Tournament
6                •   Certified U.S. Soccer Federation Referee (2013-2014)
7                •   Ran for President Freshmen Year at San Ramon Valley High School
                 •   Won $200 from EBMUD (Water hyacinth science project)
8                •   Third Place – Senior Division, Excellence in Water Research, Contra
                     Costa County Science Fair
9
                 •   2015 Recipient, Certificate of Achievement for outstanding
10                   achievement in science and engineering innovation
                 •   Accelerated Biology Student
11               •   Ran for Sophomore President
                 •   California Scholarship Federation (CSF) Member since Freshman
12
                     Year
13               •   HOSA (Health Occupation Students of America) Member since
                     Sophomore Year
14               •   Renaissance Award winner 9 times (3.5 GPA or higher per quarter)
15               •   Awards Committee Leadership (Sophomore Year)
                 •   Pitched for sponsorship of academic rewards for students
16               •   Head of Staff Choice Awards where Teachers recognize students
                     and honor them at a luncheon
17               •   Glenview Aquatics Club Lifeguard
18               •   Ran for Junior Class President (won)
                 •   JV Volleyball player (Sophomore and Junior Year)
19               •   Won athlete of the month Sophomore Year
20         32.       He has taken the following Advanced/AP/Honors classes:
21               •   Accelerated Biology
                 •   Geometry
22               •   Chemistry Honors
23               •   AP Environmental Science
                 •   AP U.S. History
24               •   Spanish IV Honors
25         33.       Prior to the unconstitutional acts of the Defendants, N.Y. served as

26   Junior Class President for the 2016-2017 school year. In conjunction with his office,



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1    N.Y. was enrolled in an elective Leadership Class. The class meets four times a
2    week and counts 10 credits per year towards graduation.
3          34.       In February of 2017, N.Y. decided to run for ASB President for the
4    following academic year.
5          35.       N.Y. agreed to the provisions of the Leadership Election Package
6    which included the following rules:
7                •   Campaign signs and materials may be posted beginning Monday
                     at 6:00 AM. This includes posting anything on Twitter, Snapchat,
8                    Instagram, etc.
9                •   There is a maximum budget of $75 for campaigning materials.
                     Please keep your receipts as we will check them
10
                 •   You may only have 30 signs up on campus at any given time. Yes,
11                   we count.
12               •   Please have discretion when creating campaign signs and slogans,
                     as any inappropriate material will be removed and the candidate is
13                   subject to be pulled from the election.
14         Emphasis in the original.
15         36.       At no time did the administration further explain or define
16   “inappropriate material.” Nor do the campaign rules cross reference any other
17   school policies, rules, or procedures.
18         37.       In conjunction with running for office, N.Y. participated in the
19   creation of a short parody video in which N.Y. portrayed a James Bond type
20   hero. In the video, N.Y. rescues a fellow student who had been captured by a
21   radical group with the intention of forcing him to participate in an international
22   video gaming competition.
23         38.       Two of N.Y.’s fellow students at SRVHS, both of whom are practicing
24   Muslim Afghan-Americans, volunteered to play the antagonists.
25
26



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1          39.    N.Y. and his fellow students produced the video off campus on
2    Saturday, February 4, 2017. The group did not use any school property or school
3    equipment in conjunction with the production of the video.
4          40.    There was no script for the video.         Everyone participated in
5    developing the story line and adlibbing dialogue.
6          41.    At the end of the day of filming, one of the other students took all of
7    the raw footage with him. The student edited the footage and at approximately
8    9:00 p.m. on February 6, 2017, he uploaded the final video to his (not the
9    Plaintiff’s) YouTube. N.Y. did not see the final version of the video before it was
10   uploaded to YouTube.
11         42.    The next morning, a fellow student sitting beside N.Y. told him that a
12   couple of students found the video to be offensive. N.Y. felt concerned, so he
13   texted his fellow student and requested that he remove it from YouTube.
14   The fellow student complied. The video was online for about 12.5 hours, most of
15   those through the night. YouTube statistics showed that the video had been
16   viewed a total of approximately 30 times.
17         43.    To the best of N.Y.’s knowledge, no one downloaded or further
18   distributed the video.
19                            Defendants’ Unconstitutional Acts
20         44.    At 2:36 p.m. on Tuesday, February 7, N.Y. received a text from Janet
21   Willford, the SRVHS speech and debate teacher who runs the Leadership
22   Program.     Ms. Willford inquired about the video and requested a link.
23   N.Y. explained that the video had been removed and thus, there was no longer
24   any active link.
25         45.    At 8:42 a.m. on Wednesday, February 8, Ms. Willford again texted
26   N.Y., stating that she wanted to protect him, but that she needed to see the
     video to do so. N.Y. and the other four students who created the video met with

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1    Ms. Willford at school that day and agreed to bring a copy of the video the
2    following day.
3          46.    Plaintiff is informed and believes and based thereon alleges that
4    after receiving a copy of the video, Janet Willford reviewed the video with other
5    members of the SRVHS administration, as well as, other students in the Leadership
6    Program.
7          47.    On February 9th, just before 1:00 p.m., the administration summoned
8    N.Y. to the school administrative offices. Assistant Principal Dearborn Ramos and
9    Assistant Principal Jamie Keith interrogated N.Y. about the video and asked him
10   to write a statement. N.Y. hesitated because he believed they were demanding
11   an admission of wrong doing.
12         48.    Ms. Ramos belittled N.Y., called him “smug” and “unremorseful.”
13   During the interrogation, Ms. Ramos and Ms. Keith interrogated N.Y., played the
14   video and Ms. Keith pointed out suspension guidelines that N.Y. allegedly broke,
15   although nothing in the video violated any of the guidelines. She followed up by
16   asking what college N.Y. wanted to attend and threatened that a suspension
17   would have a significant affect in the admissions process in colleges. She also
18   criticized his driving in the video stating that N.Y. broke the law. N.Y. understood
19   this to be a thinly veiled reference to the stereotype that Asians are poor drivers.
20         49.    Later, Assistant Principal Bernie Phelan joined in the interrogation.
21   Mr. Phelan focused on the imitation guns used in the video and argued that if a
22   student brought a photo of himself holding a firearm, even if for recreational
23   purposes or hunting with his father, the school would have the School Resource
24   Officer keep him for questioning and get a warrant to search his house for
25   contraband. Since no real guns were used in the video, this clearly was an effort
26   to apply pressure by manufacturing charges.



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1          50.    N.Y. had not eaten lunch and was not given an opportunity to eat
2    lunch the entire time he was held. His interrogators did not even offer him water
3    and he was not allowed to leave to use the restroom.              In a tactic more
4    appropriate for Guantanamo Bay, Assistant Principal Keith then ate her lunch in
5    the interrogation room in front of N.Y.
6          51.    The intense interrogation and repeated suspension threats by the
7    three assistant principals made N.Y. feel harassed, threatened, and intimidated.
8    Hungry, tired, thirsty, and in need of a restroom, N.Y. eventually wrote the
9    following statement:
10                    Me and my friends got together on a Saturday to
                  make a video for my ASB campaign. We all got
11                together to make a James Bond type film. We wanted
12                something entertaining and to keep the people who
                  viewed it laugh. There was no script. Everyone came up
13                with their own lines and everyone consented to their
                  roles. After the video was released, there were a lot of
14                kids that enjoyed the short film, but as soon as we got
15                word that some people got offended by the video, we
                  took it down immediately. We did not ever intend to hurt
16                anybody’s feeling or make them feel unsafe. When I
                  was younger I used to get bullied a lot. I don’t really talk
17
                  much about it now. I was beat by another student in a
18                bathroom. I have never wished or want anybody to
                  experience the pain that I felt, whether it is physical or
19                verbal. I am sorry that this incident turned out the way
20                that it did. I was not raised by my parents to stereotype,
                  be a racist or offend other people. My intent for the
21                video was to portray me as a hero like James Bond
                  saving the day. I personally didn’t expect the turnout. I
22                want to be able to apologize personally to anyone that
23                was affected. I understand that people didn’t take it
                  the way me and my friends wanted people to see it. I
24                am sorry for all the trouble this has caused, for admin,
                  other students, and especially my leadership teacher.
25
                  This video does not depict my personal character nor
26                ability to be a good student. I am not the type of person




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                      who doesn’t care or is selfish. I hope that this decision
1
                      that I have made doesn’t affect more people.
2          52.        At no point did the interrogators explain what possible punishment
3    N.Y. faced or what procedures or guidelines would be used to determine a
4    proper punishment. He had no opportunity to discuss the matter with his parents.
5    In fact, the school never contacted his parents about the incident. For reasons
6    that remain unclear, the administrators contacted the parents of the other four
7    students involved.
8          53.        The interrogation process with the Assistant Principals lasted almost
9    three hours. In violation of policy, N.Y. was detained past the end of the school
10   day without notice to his parents. Although the interrogation was completed at
11   3:00 p.m., N.Y. was detained in the administrative offices until approximately
12   3:20 p.m., ten minutes after the election results were scheduled to be posted and
13   20 minutes past school hours ended.
14         54.        While administrators detained N.Y. in the administrative offices, the
15   school announced that another student won the ASB President election.
16   N.Y. later learned that the school administration had disqualified him from the
17   election based solely on the video he and his four fellow students produced.
18   Therefore, N.Y.’s votes were simply disregarded.
19         55.        On Monday, February 13, 2017, at an in-person meeting, Assistant
20   Principal Jamie Keith informed N.Y. and his parents that as a result of the video
21   and upon the recommendation of Janet Willford, the school was expelling N.Y.
22   from the Leadership class.
23         56.        At the February 13, 2017 meeting, Ms. Keith provided a copy of a
24   SRVUSD Suspension Notice. She did not fill out the student information or sign the
25   form as the Suspending Official. She merely checked the following violations:
26               a.      Possessed, sold, or otherwise furnished any firearm, knife,
                         explosive, or other dangerous object, unless, in the case of


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                         possession of an object of this type, the pupil obtained
1
                         written permission to possess the item from a certificated
2                        school employee, which is concurred in by the principal or
                         the designee of the principal.
3
                 b.      Disrupted school activities or otherwise willfully defied the
4                        valid authority of supervisors, teachers, administrators,
                         school officials, or other personnel engaged in the
5                        performance of their duties.
6                c.      Possessed an imitation firearm. As used in this section,
                         “imitation firearm” means a replica of a firearm that is so
7
                         substantially similar in physical properties to an existing
8                        firearm as to lead a reasonable person to conclude that
                         the replica is a firearm.
9
                 d.      Harassed, threatened, or intimidated a pupil who is a
10                       complaining witness or a witness in a school disciplinary
                         proceeding for the purpose of either preventing that pupil
11
                         from being a witness or retaliating against that pupil for
12                       being a witness, or both.
                 e.      Engaged in an act of bullying, including, but not limited to,
13
                         bullying committed by means of an electronic act, as
14                       defined in subdivisions (f) and (g) of Section 32261, directed
                         specifically toward a pupil or school personnel.
15
                 f.      Harassment, threats, or intimidation creating an intimidating
16                       or hostile educational environment (Ed Code 48900.4)
17         57.        Ms. Keith apparently intended the form as a threat, despite the fact

18   that none of N.Y.’s actions violated any of the suspension guidelines, especially

19   since they only apply to on campus behavior. Ms. Keith alluded to the intent to

20   make an example out of N.Y., stating that if the School did not punish N.Y.,

21   it would create bad optics for the administration.

22         58.        On Friday, March 10, 2017 at a meeting attended by N.Y.,

23   his parents, his attorney, and Defendants Willford and Steele, Principal Steele

24   informed N.Y. that the decision to remove him from the position of Junior Class

25   President was final.

26         59.        At the March 10th meeting, Defendant Willford admitted that the
     Leadership election guideline prohibiting “inappropriate material” was unclear.

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1    In fact, she proposed that N.Y. create clearer election guidelines as part of his
2    punishment.
3          60.     For creating a video that the school administration found
4    “inappropriate,” the school stripped N.Y. of his title as Junior Class President,
5    suppressed his election to ASB President for the following year, and permanently
6    expelled him from the Leadership Class.
7          61.     For several months, despite repeated requests, Defendants refused
8    to reverse their decision.
9          62.     During this time, Defendants refused to release the actual election
10   results despite repeated requests from N.Y., his parents, and his counsel.
11         63.     On May 15, 2017, N.Y.’s counsel informed the School District by letter
12   that N.Y. intended to file a federal lawsuit based on Defendants’ unconstitutional
13   acts. The letter demanded returning N.Y. to the status quo anti, reimbursement
14   for legal fees, damages, an apology, and “[i]mplementation of procedures
15   designed to prevent future violations…”.
16         64.     On May 16, 2017, the District informed N.Y. that effective May 18,
17   2017, N.Y. would be returned to the Leadership class and reinstated as Junior
18   Class President.   Further, the District confirmed that N.Y. “received the most
19   votes” and that he will “serve in the position of ASB Class President” for the 2017-
20   2018 school year. The school refused N.Y.’s other demands.
21         65.     Although the Defendants seemed to accept responsibility on the
22   surface, they continued to castigate N.Y., both directly and by encouraging
23   surrogates to retaliate against N.Y. on their behalf.
24         66.     Plaintiff is informed and believes and based thereon alleges that on
25   Thursday, May 18, 2017 an official from the School District believed to be Dr. Jason
26   Reimann, spoke with the Leadership class about N.Y. Kerri Christman Gilbert, an
     employee of San Ramon High School, was also present. The message delivered

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1    to the students was that the only reason the District reversed the punitive actions
2    taken against N.Y. was because N.Y. was suing the District, implying that the
3    decision was only about avoiding litigation rather than admitting the school
4    errored and acted inappropriately. The presentation was specifically designed
5    to align the student body against N. Y.
6          67.   Plaintiff is informed and believes and based thereon alleges that on
7    May 23, 2017 at 10:31am, Ms. Gilbert published the following on the Facebook
8    page for the parents of SRVHS:
9                    Then we will agree to disagree. It is not about
                 content it’s about breaking the rules of the contract.
10               What message does it send to the rest of the kids who
11               followed the rules. How about the kids who have been
                 working towards becoming asb president their senior
12               year.
13                   It sends the message that they can skirt the rules and
                 get away with it. What kind of kids are we raising that
14               look for a way to get around what is stated. I was there
                 when the kids were informed and they were outraged
15
                 and rightfully so. When he takes over he’s going to have
16               a heck of a time earning their respect. And respect is
                 not granted it’s earned. Next school year ought to be
17               interesting.
18         68.   Plaintiff is informed and believes and based thereon alleges that
19   Janet Willford contacted a leadership teacher at California High School
20   (“Cal High”) and discussed having N.Y. address the Muslim Union of Cal High to
21   publicly apologize for the video. Cal High has a significantly higher population
22   of Muslim students than SRVHS, and Ms. Willford’s intention was to publicly shame
23   N.Y. The contact with the teacher from another school, on a matter that should
24   have been handled only by the administration, only served to bring further
25   unwarranted attention to the matter and to stoke the flames of racial tension.
26



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1         69.   On May 18, 2017, Karen Pearce, a close personal friend of Janet
2    Willford wrote on Facebook.
3                   San Ramon Valley Unified School District just caved in
                to legal bullying by parents of a junior who ran for SRVHS
4               ASB President using a racially offensive “joke” video as
5               his campaign tactic.
                  He and his friend dressed up like Muslim terrorists and
6
                had fake guns. I saw the video and was so outraged.
7                  These kids agree to a campaign contract with clear
                consequences for breaking it…you will not get an office.
8
                I know it well bc my daughter is the current ASB
9               president. Initially the boy was not allowed to be
                president. Parents sued. Parents refused to have their
10              son apologize or take any responsibility for a dreadful
11              decision.
                   AND I heard from students that parents changed
12
                their (losing) lawsuit to a freedom of speech suit and
13              asked for big $$$. DISTRICT caved!!!! Gave in rather than
                stand up for all the principles they expect our kids to
14              learn and exhibit. Boy returns tomorrow as new ASB
                President. UNBELIEVABLE!!
15
                   As a mom who expects (forces) her kids to abide by
16              their contracts…As a mom who saw the ASB kids have
17              to enforce their ASB contract on their friends this year…
                   As a parent who expects my kids to accept
18
                responsibility for
19                 poor choices and apologize…
20                  As a citizen in a country where racial slurs (even in
                jest) are NOT OK…
21
                   I am outraged.
22
                   SRVUSD--think about the precedent you just set. You
23              pretty much tied the hands of your principals, teachers
                and safety staff. Get caught drinking--just sue. Don’t like
24              your grade--sue. Apparently things like right and wrong
25              don’t matter here anymore.
                   There is a Board meeting on Tuesday. It would be
26
                awesome to have a strong show of support and
                speakers to speak on our Leadership program’s behalf.

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                 The reinstatement of this student is a blatant disrespect
1
                 to rules, in general, and his video that mocked Muslims
2                was sufficient to disqualify the student from the
                 campaign. This situation is not just a HS thing. The
3                outcome is precedent for all sorts of unfair behavior.
4                  #thisiscrazy  #srvusd              #srvhs   #upside_down
                 #charactermatters
5
                     doing the right thing isn’t always easy but it’s always
6                right.
7          70.   She continued her tirade on Instagram:
8                    Raising kids just got harder thanks to SRVUSD and the
                 parents of a SRVHS          student who used a racially
9                insensitive video against Muslims as his campaign for ASB
10               President.     Parents didn’t like that the campaign
                 contract he signed dictated that he wasn’t allowed into
11               office so they brought multiple suits against the District
                 AND refused to have their son apologize/take
12
                 responsibility for a poor decision. SRVUSD caved and are
13               forcing the leadership class and school to have this boy
                 as their role model and leader next year. What kind of
14               example is this SRVUSD??? How do you hope to uphold
                 all the other behavior and conduct contracts with
15
                 students?? Kids make mistakes --I get it. But it’s the
16               authority figures(parents, school, District) that need to
                 teach accountability. Parents--this is what your tax
17               dollars are supporting. I feel so bad for this boy and the
18               life lesson his parents are choosing…don’t like
                 something--sue.
19                   I hope the local media follows this. It’s just not right.
                 Please share.          I have to believe good will
20               win!!!@ktvujuliehaener @eastbaytimes
21                   #thisiscrazy      #srvusd     #srvhs    #upside_down
                 #charactermatters
22
           71.   Some of the information in Ms. Pearce’s post could only have come
23
     from someone within the School District. For example, the fact that the Yu’s were
24
     considering further legal action was only transmitted from N.Y.’s attorney to the
25
     attorney for the San Ramon Valley Unified School District as set forth at Paragraph
26
     63 above. Somehow that information was transmitted to Ms. Pearce.



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1          72.   Ms. Pearce’s social media posts created media frenzy and
2    communities’ uproar. Neighborhood discussions on sites like social media site
3    Nextdoor.com got so heated that Nextdoor.com had to completely shut down
4    the threads. N.Y. and his family received threatening messages and were target
5    of hate speech based on the Defendants’ unsubstantiated claims that N.Y. had
6    engaged in racist stereotyping.
7          73.   Plaintiff is informed and believes and based thereon alleges that
8    Janet Willford encouraged Karen Pearce to make publish these statements.
9          74.   Ms. Willford’s existing animus towards N.Y. is evidenced by the fact
10   that the other students involved in the production and distribution of the video,
11   including the students who developed the characters that Ms. Willford claims to
12   be offended by, the student who edited the video, and the student who actually
13   posted the video, were only required to make a video displaying the proper way
14   to stay within school guidelines when making campaign videos as their
15   punishment. This option was never offered to N.Y. who only learned about the
16   punishment video from his fellow students. Also, as mentioned elsewhere herein,
17   the school contacted the parents of those students while it did not contact N.Y.’s
18   parents.
19         75.   Plaintiff is informed and believes and based thereon alleges that on
20   May 24th, N.Y.’s Spanish teacher encouraged her students to e-mail the
21   Superintendent in protest of the school’s decision to reinstate N.Y. so that “all
22   [their] voices are heard.”
23         76.   On May 29th, N.Y.’s photography teacher e-mailed his class that,
24   “[t]he last week has brought a lot of negative attention to our school. We’ve
25   made international news and not for good reasons…Integrity is doing the right
26   thing when no one is looking” – a statement that indirectly condemns N.Y.



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1          77.     Plaintiff is informed and believes and based thereon alleges that
2    many SRVHS teachers excused the absences of students who participated in a
3    walkout to protest the School Board’s decision to reinstate N.Y., in tacit support
4    of taking retaliatory action against N.Y.
5          78.     Over one hundred and forty SRVUSD teachers, staff, and employees
6    signed a letter that was presented to the District Board on June 13, 2017.
7    The letter, which contains numerous misstatements of law and fact, admonishes
8    the School Board for reversing the decision to punish N.Y. for the campaign
9    video.
10         79.     Further, there is evidence that Janet Willford has a history of animus
11   directed towards N.Y. even in advance of the video incident. When viewed in
12   totality, her actions demonstrate a consistent pattern of favoritism and treating
13   N.Y. as if he did not belong in the Leadership Class or in a leadership position.
14         80.     At the end of his sophomore year, N.Y. was elected to the position
15   of Junior Class President. In front the entire leadership class, Willford brought up
16   the fact that N.Y. had lost elections for leadership positions three years in a row
17   before attaining this achievement, intentionally embarrassing him.
18         81.     Traditionally, incoming Junior Class Officers (still in their sophomore
19   year) are invited to the Junior Class Prom so that they can see first-hand what
20   their job will be the following year. Ms. Willford invited all the incoming Junior
21   Class Officers who were Caucasian, including the candidate that N.Y. defeated
22   in the Junior Class President election, well in advance of the event, but excluded
23   N.Y. Two days prior to the event, N.Y. finally received his invitation with the
24   explanation that Ms. Willford “forgot” to include him on the list. He was unable
25   to attend at that late date, because his parents had already made plans for him
26   to be away.



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1          82.    At the beginning of the year, Ms. Willford established and used a
2    group chat to discuss Junior Class Leadership topics with the Junior Class Officers.
3    She added all the other officers but again “forgot” to add N.Y. to the group chat,
4    even though he was Junior Class President. N.Y. was not even aware the group
5    chat existed until he casually asked the vice-president how she had received a
6    copy of a prom invitation design. This was in January, half way through the year.
7          83.    It is unclear why Ms. Willford targeted N.Y. the way she did. It may
8    have been mere favoritism for students who were friends of Ms. Willford and her
9    family. Alternatively, it may have been something more nefarious such as racism,
10   since N.Y. is Asian and the other officers are Caucasian.
11         84.    Plaintiff is informed and believes and based thereon alleges that
12   Ms. Willford maintains a close and personal friendship with the family of G.W., the
13   student who benefited from N.Y.’s disqualification by being named incoming ASB
14   President. Ms. Willford is also a close friend of Karen Pearce, the woman who
15   appeared on TV interviews and published the Facebook and Instagram postings
16   condemning N.Y., initiating and supporting a smear campaign against N.Y. and
17   his parents, and encouraging people to pressure the School Board to reconsider
18   the reinstatement of N.Y. They all attend and are heavily involved in the same
19   local Presbyterian Church.     Ms. Willford’s father-in-law is a church deacon.
20   Ms. Pearce held various volunteer positions in the Women's Ministry program at
21   the church before joining its staff in January 2016 as Director of Connection.
22   G.W. is an active member of the church’s Student Life Group and is the church’s
23   current High School Intern. G.W.’s father organized sporting events for Men on
24   the Mountain, church’s annual men’s conference.
25         85.    Ms. Willford knew G.W. would serve as ASB President if she
26   disqualified N.Y., but because Ms. Willford operates so autonomously, it is difficult
     to discern prior to discovery whether she let her personal relationship with G.W.

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1    and her family and her preference for G.W. to serve as next year’s ASB President
2    influence her decision to disqualify N.Y. and overturn a legitimate election.
3    Certainly, it was inappropriate for Ms. Willford to be the one to make the decision
4    to disqualify N.Y.
5          86.    After the Board reversed SRVHS’s decision to punish N.Y. for his
6    political speech, Superintendent Schmitt reached out to the Yu Family to arrange
7    a meeting “to make sure [N.Y.] [was] doing OK and to provide support.”
8    However, when the Yus requested to have their attorney present and asked to
9    discuss the issues which were causing N.Y. not to be “OK.” The Superintendent,
10   through counsel, unilaterally cancelled the meeting and refused to meet with
11   the Yus.
12         87.    Having no other means for protecting themselves, the Yus bring this
13   action to recover damages for the Defendants unconstitutional acts and to
14   prevent further harassment directed at him in retaliation for standing up for Free
15   Speech.
16                                   FIRST CLAIM FOR RELIEF
17           Violation of the First Amendment to the United States Constitution
                  (Against all Defendants except Kerri Christman Gilbert)
18
           88.    Plaintiff repeats and incorporates herein by reference the
19
     allegations in the preceding paragraphs of this Complaint.
20
           89.    Plaintiff has a federally protected right and privilege to be free from
21
     deprivation of his freedom of speech, expression, and association under the First
22
     Amendment to the United States Constitution as incorporated and applicable to
23
     the state by the Fourteenth Amendment to the United States Constitution.
24
           90.    The Defendants are aware or should be aware that despite
25
     pedagogical concerns, neither students nor teachers shed their constitutional
26
     rights to freedom of speech or expression at the schoolhouse gate.



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1           91.    Defendants punished Plaintiff based on his speech protected by the
2    First Amendment by stripping him of his office as Junior Class President for nearly
3    four months, disqualifying him from the position as next year’s ASB President
4    despite having received a majority of the vote thereby casting a cloud over the
5    leadership role he will take on at the beginning of the 2017-2018 school year, and
6    expelling him from the Leadership Class for nearly a full semester.
7           92.    The production, distribution, and display of the video occurred off
8    campus.
9           93.    The protected speech did not cause a material and substantial
10   disruption to school activities or to the work of the school, nor was it reasonably
11   likely to do so.
12          94.    As such, Defendants’ acts violate Plaintiff’s First Amendment rights.
13          95.    Defendants’ actions deprived N.Y. of his right to an education,
14   specifically but not limited to the right to attend the leadership class from which
15   he was expelled during the majority of the Spring 2017 Semester.
16          96.    As a further direct result of Defendants’ actions, Plaintiff suffered
17   damages including but not limited to, the chilling of his First Amendment Rights,
18   emotional damages, harm to reputation, embarrassment, humiliation, stress
19   and/or mental anguish, and all other damages directly and/or consequentially
20   associated with the deprivation of one’s civil rights, including attorneys’ fees and
21   costs associated with vindicating his civil rights.
22                              SECOND CLAIM FOR RELIEF
23   Violation of the First Amendment to the United States Constitution by Retaliation
                                 (Against all Defendants)
24
            97.    Plaintiff repeats and incorporates herein by reference the
25
     allegations in the preceding paragraphs of this Complaint.
26



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1           98.      As argued above, N.Y.’s parody campaign video is First-
2    Amendment-protected speech.
3           99.      N.Y.’s petitioning the state court for a writ of mandate is also activity
4    protected by the First Amendment.
5           100.     Although the District agreed to reinstate N.Y., the District, its
6    employees, and its teachers engaged in retaliatory conduct, including without
7    limitation:
8                 a. encouraging students to express hostility toward N.Y. by telling those
9                    students that the only reason the District reinstated N.Y. was because
10                   N.Y. and his parents threatened to file a lawsuit;
11                b. encouraging students to contact the Superintendent to protest
12                   against N.Y.;
13                c. signing a petition to the School Board condemning N.Y. for
14                   engaging in First Amendment Activity and condemning the School
15                   Board for reinstating N.Y.;
16                d. encouraging students to leave class to protest the School District’s
17                   decision to reinstate N.Y. by excusing the absences of those
18                   students;
19                e. showing the subject video, a copy of which was obtained by
20                   demanding a copy from the students involved, to members of the
21                   Muslim community, in an effort to further provoke community
22                   backlash; and
23                f. disseminating through social media additional information from
24                   N.Y.’s private school records including discussing his attendance.
25          101.     The District’s retaliatory conduct has denied N.Y. of various benefits
26   and privileges. The actions of District and its failure to prevent the acts of its
     administrators, teachers, and employees have created such a toxic environment

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1    at the school and in the community, that if not prevented and corrected will
2    make it impossible for N.Y. to continue as a student at SRVHS or to take the post
3    of ASB President for the 2017-2018 academic year.
4          102.   The retaliatory acts will negatively impact the right of N.Y. to attend
5    the school of his choice.
6          103.   The motivation for the retaliatory adverse actions taken by the
7    District, its administrators, teachers, and employees is to punish N.Y. for engaging
8    in First Amendment protected activity including ideas N.Y. conveyed in his James
9    Bond parody campaign video and his right to petition the government.
10         104.   As a direct result of Defendants’ actions, Plaintiff suffered damages
11   including but not limited to, the chilling of his First Amendment Rights, emotional
12   damages, harm to reputation, embarrassment, humiliation, stress and/or mental
13   anguish, and all other damages directly and/or consequentially associated with
14   the deprivation of one’s civil rights, including attorneys’ fees and costs
15   associated with vindicating his civil rights.
16                                  THIRD CLAIM FOR RELIEF
17           Interference with the Rights Secured by the Constitution or Laws of
           the State of California, to wit violation of Article 1, §2 of the California
18               Constitution and violation of Cal. Educ. Code Sec. 48950(a)
                   (Against all Defendants except Kerri Christman Gilbert)
19
           105.   Plaintiff repeats and incorporates herein by reference the
20
     allegations in the preceding paragraphs of this Complaint.
21
           106.   Defendants punished Plaintiff based upon conduct protected by
22
     the United States Constitution.
23
           107.   The California Education Code is even more protective of student
24
     speech than the First Amendment of the U.S. Constitution, specifically providing
25
     that, “[a] school district operating one or more high schools, a charter school, or
26
     a private secondary school shall not make or enforce a rule subjecting a high


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1    school pupil to disciplinary sanctions solely on the basis of conduct that is speech
2    or other communication that, when engaged in outside of the campus, is
3    protected from governmental restriction by the First Amendment to the United
4    States Constitution or Section 2 of Article I of the California Constitution. Cal.
5    Educ. Code § 48950.
6          108.   Consequently, N.Y.’s speech is also protected under California law.
7          109.   The Defendants knew or should have known Plaintiff has certain civil
8    rights, including the freedom of speech, expression and association secured
9    under Article 1, §2 of the California Constitution and Cal. Educ. Code § 48950.
10         110.   As a direct and proximate result of their actions, the Defendants,
11   while acting under color of law, deprived Plaintiff of certain civil rights secured
12   under Article 1, §2 of the California Constitution, by wrongfully chilling and
13   infringing upon Plaintiff’s freedom of speech, expression, and association without
14   due process of law.
15         111.   As a direct and proximate result of the Defendants’ actions, Plaintiff
16   suffered damages, a result of the violation of his Civil Rights, including but not
17   limited to the chilling of his constitutional rights, emotional damages,
18   embarrassment, harm to reputation, humiliation, stress and/or mental anguish
19   and all other damages directly and/or consequentially associated with the
20   deprivation of one’s civil rights.
21                               FOURTH CLAIM FOR RELIEF
22                        Violation of the 14th Amendment to the
                     United States Constitution – Right to Due Process
23                (Against all Defendants except Kerri Christman Gilbert)
24         112.   Plaintiff repeats and incorporates herein by reference the

25   allegations in the preceding paragraphs of this Complaint.

26         113.    The policies and conduct of the Defendants constitute a violation
     of the First and Fourteenth Amendments of the U.S. Constitution.

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1          114.   Fundamental Due Process requires that school disciplinary rules must
2    be sufficiently explicit to inform those who are subject to them what conduct on
3    their part will render them liable to their penalties and not so vague that people
4    of common intelligence must necessarily guess at their meaning and differ as to
5    their applications.
6          115.   Fundamental Due Process and ordinary notions of fair play further
7    require that the school give adequate notice of the school disciplinary rules so
8    as to allow a student and his parent to govern his or her conduct and or action
9    in a fashion that would comport with the school restrictions.
10         116.   Prior to February 4, 2017, when Plaintiff and his four fellow students
11   produced and distributed the video that Defendants censured, the School did
12   not give proper and adequate notice of what it considered to be inappropriate
13   speech that would subject students to disciplinary actions.
14         117.   Plaintiff is entitled to Due Process notice of school policies, rules
15   and/or procedures which could subject him to disciplinary action, so as to
16   enable him to adequately govern his conduct accordingly.
17         118.   Like all citizens, Defendants are deemed to know the applicable law
18   governing their behavior, authority, duties and procedures.
19         119.   Plaintiff has a federally protected right and privilege to be free from
20   deprivation of life, liberty, or property without Due Process of the law under the
21   Fourteenth Amendment to the United States Constitution.
22         120.   The Defendants knew or should have known Plaintiff has a federally
23   protected right and privilege to be free from deprivation of life, liberty, or
24   property without Due Process of the law, under the Fourteenth Amendment to
25   the United States Constitution.
26         121.   The Defendants knew or should have known that they could not
     craft, adopt, pass, ratify and/or enforce “secret” and/or unwritten standards for

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1    regulating election materials to which Plaintiff was not provided Due Process
2    notice.
3          122.   Defendants decided in an act of deliberate indifference to the
4    rights of Plaintiff to arbitrarily and capriciously take action to circumvent the
5    written disciplinary policies, rules, and procedures of SRVHS and SRVUSD.
6          123.   As a direct and proximate result of their actions, the Defendants,
7    under color of law, deprived Plaintiff of certain civil rights secured under the 1st
8    and 14th Amendments of the United States Constitution, by wrongfully censoring
9    his United States Constitutional freedom of speech, expression, and association
10   without Due Process of law.
11         124.   As a direct and proximate result of the Defendants actions, Plaintiff
12   was deprived of a liberty interest and suffered damages, as a result of the
13   violation of his Civil Rights, including but not limited to the chilling of his
14   constitutional rights, emotional damages, embarrassment, harm to reputation,
15   humiliation, stress and/or mental anguish and all other damages directly and or
16   consequentially associated with the deprivation of one's civil rights, including
17   attorneys’ fees and costs associated with vindicating his civil rights.
18         125.   Plaintiff had no adequate and/or available post deprivation
19   remedy.
20                                    LEAVE TO AMEND
21         Plaintiffs find it necessary to file on their constitutional claims immediately
22   in order to prevent the continued and irreparable harm the Defendants are
23   causing Plaintiff. Plaintiff will present the full nature and extent of that harm in a
24   subsequently filed motion for injunctive relief.     Plaintiff would like to present
25   additional state tort claims, but prior to presenting these matters to this Court,
26   Plaintiffs are bound to comply with the California Tort Claims Act. Assuming, the



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1    State denies their claims, Plaintiffs expressly reserve leave to amend in order to
2    present those claims to this Court.
3                                    PRAYER FOR RELIEF
4          WHEREFORE, Plaintiff respectfully prays that this Court enter judgment for
5    Plaintiff and against Defendants as follows:
6          A.    An order preliminarily and permanently enjoining Defendants, their
7                officers, agents, servants, employees, and all persons in active
8                concert or participation with them who receive actual notice of the
9                injunction requiring them to cease any form of retaliation against
10               N.Y. based on the video in question;
11         B.    An order preliminarily and permanently enjoining Defendants, their
12               officers, agents, servants, employees, and all persons in active
13               concert or participation with them who receive actual notice of the
14               injunction requiring them to cease any form of retaliation against
15               N.Y. for filing any complaint or for seeking to vindicate his
16               constitutional rights;
17         C.    An order declaring that Defendants’ complained about conduct is
18               unconstitutional and violates the First and Fourteenth Amendments
19               of the U.S. Constitution and Article 1, §2 of the California
20               Constitution;
21         D.    An order declaring that the section of the student election rules
22               allowing for punishment of students who post “inappropriate
23               material” is unconstitutional on its face because it violates students’
24               rights to freedom of speech and due process;
25         E.    Prejudgment and post-judgment interest at the rate allowed by law;
26



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1          F.    Costs of suit, including attorneys’ fees and costs pursuant to 42 U.S.C.
2                § 1988;
3          G.    Actual, Nominal, and Punitive Damages to be determined at trial;
4          H.    Such other declaratory relief consistent with the injunction as
5                appropriate; and
6          I.    All other relief to which Plaintiff may be entitled.
7                                      JURY DEMAND
8          Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal
9    Rules of Civil Procedure.
10
                                            Respectfully submitted,
11
12   Dated: July 13, 2017                   RANDAZZA LEGAL GROUP, PLLC

13                                          By:       /s/ D. Gill Sperlein
14                                                    D. GILL SPERLEIN
                                                      MARC. J. RANDAZZA
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                                                      Attorneys for Plaintiff,
16                                                    N.Y.
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